         Case 2:07-cr-00056-LKK Document 102 Filed 02/19/09 Page 1 of 2


                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM


Honorable Lawrence K. Karlton
Senior United States District Judge
Sacramento, California

                                            RE:    Natosha SAUNDERS
                                                   Docket Number: 2:07CR00056-03
                                                   WITHDRAWAL OF PETITION

Your Honor:

On October 8, 2008, this officer filed a petition alleging the following violations: Possession
of a controlled substance, to wit, marijuana; failure to refrain from places where controlled
substances are illegally sold, used, distributed or administered; and failure to refrain from
associating with any persons engaged in criminal activity. The matter was placed on the
Court's calendar on November 12, 2008, at 9:15 a.m. The matter was continued three
months to February 5, 2009, to monitor the offender's progress on supervision. This was
done primarily due to the fact that the offender was pregnant and that her boyfriend, a state
parolee, was the suspected owner of the marijuana. On February 5, 2009, the matter was
continued to March 3, 2009, for purposes of submitting a memo to request dismissal of the
aforementioned petition.

During the time the matter was continued, the offender has been in full compliance with all
her terms and conditions of supervised release. She is an active participant in the Welfare
to Work Program which requires her to take classes and actively seek work Mondays
through Fridays from 8:00 a.m. to 5:00 p.m. She is on her last phase of urinalysis testing
and has never produced a positive sample. Home visits made during this time revealed no
evidence of contraband.

Due to the aforementioned, it is respectfully requested that the petition filed on October 8,
2008, on the above named offender, be dismissed and the Court hearing set for March 3,
2009 at 9:15 a.m. be taken off the Court's calendar. Further, this officer is requesting
permission from the Court to destroy the marijuana that was confiscated during the search
on August 21, 2008.
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                                              1                                 MEMO ~ COURT.MRG
           Case 2:07-cr-00056-LKK Document 102 Filed 02/19/09 Page 2 of 2


 RE:     Natosha SAUNDERS
         Docket Number: 2:07CR00056-03
         WITHDRAWAL OF PETITION

                                    Respectfully submitted,


                                   /s/Matthew M. Faubert
                                  MATTHEW M. FAUBERT
                           Senior United States Probation Officer

Dated:            February 17, 2009
                  Sacramento, California
                  MMF/cp


REVIEWED BY:            /s/Kyriacos M. Simonidis
                        KYRIACOS M. SIMONIDIS
                        Supervising United States Probation Officer



cc:      Robin Taylor
         Assistant United States Attorney

         Shari Rusk
         Defense Counsel

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THE COURT ORDERS:

[T]      The petition filed on October 8, 2008, is hereby dismissed and the matter set for
         March 3, 2009, is taken off the Court's calendar.

[ T ] The Court grants permission for the United States Probation Office to destroy the
      marijuana confiscated during the search on August 21, 2008.

[ ]      Other:


February 18, 2009
DATE




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                                              2                             MEMO ~ COURT.MRG
